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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

SAVATREE, LLC,                                  §
                                                §
                     Plaintiff                  §
                                                §
         v.                                     §
                                                §
SHAWNEE MISSION TREE SERVICE,                   §   Case No.: 3:22-cv-02052-K
INC. D/B/A ARBOR MASTERS, GETTH                 §
NELSON, FRANCISCO ANDRADE,                      §
CODY CAUDILL, and LUIS CASTRO,                  §
                                                §
                     Defendants.


                    PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

              Plaintiff SavATree, LLC (“SavATree”) hereby submits the following information in

   compliance with Fed. R. Civ. P. 7.1:

              1. SavATree is a wholly-owned subsidiary of CI (Quercus) Intermediate Holdings,
                 LLC.

              2. No publicly-held company owns 5% or more of SavATree stock.




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Dated: September 19, 2022                               VEDDER PRICE P.C.


                                                        By: ________________________________
                                                            Stephanie C. Sparks
                                                            Bar No. 24042900
                                                            ssparks@vedderprice.com
                                                            100 Crescent Court, Suite 350
                                                            Dallas, Texas 75201
                                                            T: (469) 895-4800
                                                            F: (469) 895-4802
                                                             Jonathan A. Wexler (pro hac vice to be
                                                             filed)
                                                             jwexler@vedderprice.com
                                                             1633 Broadway, 31st Floor
                                                             New York, New York 10019
                                                             T: +1 212 407 7700
                                                             F: +1 212 407 7799
                                                             Allie E. Czerniak (pro hac vice to be
                                                             filed)
                                                             aczerniak@vedderprice.com
                                                             222 North LaSalle Street
                                                             Chicago, Illinois 60601
                                                             T: (312) 609 7626
                                                             F: (312) 609 5005

                                                        ATTORNEYS FOR PLAINTIFF
                                                        SAVATREE, LLC




                                    CERTIFICATE OF SERVICE

       I certify that on September 19th, 2022, I electronically filed the foregoing with the Clerk of the
Court by using the CM/ECF system. I further certify that a true copy of the foregoing was furnished by
CM/ECF to all counsel of record.


                                                /s/ Stephanie C. Sparks
                                                Stephanie C. Sparks




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